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       7
                                        UNITED STATES BANKRUPTCY COURT
       8
       9
                                         EASTERN DISTRICT OF CALIFORNIA
      10
      11
                 In re:                                     Case No. 2019-21640
      12
      13
                 Debora Leigh Miller-Zuranich               DCN: PLC-08
      14
      15
                                             , Debtors      Hearing Date: November 5, 2019
      16
                                                            Hearing Time: 9:30 AM
      17
                                                            Hon. Christopher D. Jaime
      18
                                                            Courtroom 32 - Dept B
      19
      20
                  DECLARATION OF DEBORAH MILLER ZURANICH IN SUPPORT OF MOTION TO
      21
                          RECONSIDER HEARING ON MOTION TO CONVERT TO CHAPTER 7
      22
      23             I, Deborah Leigh Miller-Zuranich, declare:
      24                  1. The matters as set forth in this declaration are true of my own knowledge; and, if
      25                     called upon to do so, I could and would competently testify to them.
      26                  2. I am the Debtor in the above-entitled Bankruptcy case.
      27
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       1            3. I have been diligently been working on my Bankruptcy Case and trying to put
       2                together a viable Chapter 11 Plan.
       3            4. In addition to myself, my three siblings are co-owners of the Incline Village, Lake
       4                Tahoe property and the Merlin Court Oakland Property.
       5            5. My sisters have arraigned to pay the delinquent property taxes on the incline
       6                village property as well as the Home Owners Association. Additionally they have
       7                arraigned to refinance the property through its current lender Tellone.
       8            6. I have the post conversion, from Chapter 13 to Chapter 11, September and
       9                October rents in the DIP account. The rents collected prior to were used repairs
      10                preparing to sell the property.
      11            7. I have worked with Stanly Cornelius, a Realtor in Oakland, who believes he can
      12                have the Merlin Court Property in escrow within 10 days of his employment.
      13            8. The exhibits are true copies of the letter I received from Mr. Cornelius and email
      14                from my sister.
      15            9. I believe that if the court reconsiders the conversion and allows me to continue
      16                as Debtor in Possession, I can have the Chapter 11 case completed in less than
      17                120 days.
      18
      19         I declare under penalty of perjury the forgoing is true and correct, executed at Elk
      20         Grove, California on October 21, 2019.
      21
                                                                        /s/ Debora Miller-Zuranich
      22                                                                Debora Miller-Zuranich
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